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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NOS: 2:16-CR-0017-TOR-1
 8                             Plaintiff,               2:16-CR-0017-TOR-2

 9            v.                                   PROTECTIVE ORDER

10    JESUS CORTEZ-HERNANDEZ and
      JESSE L. TABLERT,
11
                               Defendants.
12

13           BEFORE THE COURT are the United States’ Motion for Protective Order

14   (ECF No. 30) and Motion to Expedite (ECF No. 31). The motions were submitted

15   for consideration without oral argument. The Court has reviewed the motions and

16   the file therein and is fully informed. For good cause shown, the motions are

17   granted.

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 1            ACCORDINGLY, IT IS HEREBY ORDERED:

 2            1.   The United States will provide discovery materials on an on-going

 3   basis to defense counsel;

 4            2.   Defense counsel may possess but not copy (excluding the production

 5   of necessary working copies) the discovery materials, including sealed documents.

 6   A copy means a copy of the actual discovery, summarizing content of discovery,

 7   quoting from content of discovery, and providing it to the Defendant;

 8            3.   Defense counsel may show to, and discuss with, their client the

 9   discovery material, including sealed documents;

10            4.   The Defendants are specifically advised that they may not possess

11   case discovery materials and/or sealed court documents unless authorized by this

12   Court.

13            5.   Defense counsel shall not provide original or copies of discovery

14   materials directly to their client;

15            6.   Defense counsel shall not otherwise provide original or copies of the

16   discovery material to any other person, including subsequently appointed or

17   retained defense counsel, but excluding any staff of defense counsel or investigator

18   and/or expert engaged by defense counsel, who will also be bound by the terms

19   and conditions of the Protective Order. If the discovery is provided to a Court

20   appointed "expert" or investigator under the parameters of this Order, that expert or



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 1   investigator is subject to this Protective Order and therefore subject to sanctions for

 2   violation of said Order;

 3         7.      Defense counsel shall not electronically transpose the contents of such

 4   discovery material onto any other stationary/paper or media including attorney

 5   letterhead;

 6         8.      The United States and defense counsel may reference the existence

 7   and content of sealed discovery material in open and closed court proceedings

 8   relevant to case numbers 2:16-CR-0017-TOR-1 and 2:16-CR-0017-TOR-2;

 9         9.      The parties reserve the right to seek relief from the Protective Order

10   should the need arise;

11         10.     A violation of this protective order may result in contempt of court

12   proceedings against any contemptor, including but not limited to defense counsel

13   and/or the Defendants.

14         The District Court Executive is hereby directed to enter this Order and

15   furnish copies to counsel.

16         DATED February 4, 2016.

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18                                     THOMAS O. RICE
                                Chief United States District Judge
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